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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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REAL ESTATE BOARD OF NEW YORK, INC.,
NEW YORK STATE ASSOCIATION OF
REALTORS, INC., BOHEMIA REALTY GROUP,
BOND NEW YORK REAL ESTATE CORP., REAL                                              NOTICE OF MOTION
NEW YORK LLC, LEVEL GROUP INC., FOUR
                                                                                   24-CV-9678 (RA)
CORNERS REALTY, LLC, 21 WEST 74 CORP., 8
WEST 119TH STREET HDFC,

                                                                 Plaintiffs,

                                 -against-

THE CITY OF NEW YORK, a municipal entity, VILDA
VERA MAYUGA, as Commissioner of New York City
Department of Consumer and Worker Protection,


                                                              Defendants.

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                   PLEASE TAKE NOTICE that upon the accompanying Memorandum of

Law in support of this motion and in opposition to Plaintiffs’ motion for a preliminary

injunction, dated February 28, 2025; the Declaration of Aimee K. Lulich and

accompanying exhibits, and upon the pleadings herein, the undersigned will move this

Court, before the Honorable Ronnie Abrams, United States District Judge, at the United

States Courthouse for the Southern District of New York, located at 40 Foley Square,

New York, New York, at a time set by the Court, for an order, pursuant to Rule 12(b)(6)

of the Federal Rules of Civil Procedure, dismissing the Complaint, and granting such

other and further relief as the Court may deem just and proper.
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                PLEASE TAKE FURTHER NOTICE, that, pursuant to the Order of the

Honorable Ronnie Abrams, dated January 16, 2025, any answering papers should be filed

on or before March 28, 2025, and reply papers on or before April 11, 2025.

Dated:          New York, New York
                February 28, 2025

                                                   MURIEL GOODE-TRUFANT
                                                   Corporation Counsel of
                                                   the City of New York
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                                                   By:     ____/S ____________
                                                           Aimee K. Lulich
                                                           Jessica Katzen
                                                           Assistant Corporation
                                                           Counsels



cc:      Attorneys of Record (via ECF)
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   24-CV-09678 (RA)
   UNITED STATES DISTRICT COURT
   SOUTHERN DISTRICT OF NEW YORK
   REAL ESTATE BOARD OF NEW YORK, INC., NEW YORK
   STATE ASSOCIATION OF REALTORS, INC., BOHEMIA
   REALTY GROUP, BOND NEW YORK REAL ESTATE CORP.,
   REAL NEW YORK LLC, LEVEL GROUP INC., FOUR
   CORNERS REALTY, LLC, 21 WEST 74 CORP., 8 WEST 119TH
   STREET HDFC,

                                                                                                                       Plaintiffs,

                                                             -against-

   THE CITY OF NEW YORK, a municipal entity, VILDA VERA
   MAYUGA, as Commissioner of New York City Department of
   Consumer and Worker Protection,


                                                                                                                   Defendants.

                                              NOTICE OF MOTION

                                 MURIEL GOODE-TRUFANT
                           Corporation Counsel of the City of New York
                               Attorney for Defendants
                               100 Church Street Room 5-143
                               New York, N.Y. 10007

                                    Of Counsel: Aimee Lulich & Jessica Katzen
                                    Tel: (212) 356-2369




   Due and timely service is hereby admitted.

   New York, N.Y. ............................................................................................, 2024…...

   ............................................................................................................................. , Esq.

   Attorney for ...................................................................................................................
